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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MISSOURI
                               EASTERN DIVISION

  MONSANTO COMPANY,
  PHARMACIA, LLC, and
  SOLUTIA, INC.,

                     Plaintiffs,                   Cause No. 4:23-cv-00204-HEA

  v.                                               ORAL ARGUMENT REQUESTED

  MAGNETEK, INC., et al.,

                     Defendants.




            MEMORANDUM IN SUPPORT OF CORNELL-DUBILIER
               ELECTRONICS, INC.’S MOTION TO DISMISS
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                                        INTRODUCTION

         The First Amended Petition (“FAP”) against Cornell-Dubilier Electronics, Inc. (“CDE”)1

should be dismissed both for the reasons detailed in Defendants’ Brief in Support of Joint

Motion to Dismiss Counts I–IV and VII of Plaintiffs’ First Amended Petition (“Joint Brief”) and

because this Court lacks personal jurisdiction over CDE, see Fed. R. Civ. P. 12(b)(2).

Monsanto’s claims against CDE are also barred by the statute of limitations. Id. 12(b)(6). And

Count V, asserting negligence, should be dismissed because it fails to state a claim.2 Id.

         CDE is not subject to the jurisdiction of the courts of Missouri in this case. CDE is

incorporated in Delaware and headquartered in South Carolina. CDE’s suit-related contacts with

Missouri are minimal. CDE signed the two-page document at the heart of this case—the so-

called “Special Undertaking” (“SU”)3—over half a century ago, likely in New Jersey, where

CDE was headquartered at the time, not Missouri. The SU is not a Missouri contract. If

anything, it is a unilateral contract relating to Old Monsanto’s4 future sales of polychlorinated

biphenyls (“PCBs”) to CDE. It did not become a contract, if ever, until Old Monsanto

performed—that is, by shipping PCBs from its Illinois factory to CDE’s facility in

Massachusetts, for which CDE paid Old Monsanto in New York.




1
 CDE was incorrectly named as “Cornell Dubilier Electronics, Inc.” in the First Amended
Petition. The correct name contains a hyphen.
2
  Before removal, the state court denied Defendant Magnetek, Inc.’s motion to dismiss for lack
of personal jurisdiction. That court’s ruling, which lacked a written explanation, does not bind
this Court. In any event, CDE’s motion concerns different circumstances and arguments.
3
    For the Court’s convenience, CDE has attached the SU, FAP Ex. 5, as Exhibit 1 hereto.
4
  For simplicity, CDE refers to Plaintiffs and their predecessors collectively as “Monsanto,” as
did the Plaintiffs, without suggesting all have standing. See Joint Brief at 16–20. For CDE’s
jurisdictional arguments, the only relevant entity is Old Monsanto, which signed the SU and was
based in Missouri during the relevant period. See FAP ¶ 17.


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         Monsanto’s claims are also timed-barred. Assuming Missouri’s five-year statute of

limitations applies, it began to run on May 18, 2017, when, as Monsanto alleges, CDE refused to

defend and indemnify Monsanto and allegedly breached the SU. Yet Monsanto did not add CDE

to its lawsuit until August 3, 2022, more than five years after the alleged breach.

         Even if the Court were to find jurisdiction, Monsanto’s tort claims should be dismissed

for failure to state a colorable claim. Its equitable contribution count should be dismissed for the

reasons stated in the Joint Brief. And its negligence count is barred by the economic loss

doctrine: Monsanto cannot maintain a negligence action when it alleges only litigation expenses

for the underlying PCB cases as damages. This is a contractual indemnity case, not a tort case.

Monsanto cannot tack on plainly deficient tort claims to keep the case in Missouri when

jurisdiction is otherwise lacking.

                                         BACKGROUND

         CDE manufactures capacitors for electrical applications. See FAP ¶¶ 14, 156; Affidavit

of Victor Whitworth (“Whitworth Aff.”) ¶ 3. It is incorporated in Delaware and headquartered

in South Carolina. Whitworth Aff. ¶ 5. It has manufacturing facilities and/or offices in

Massachusetts, South Carolina, North Carolina, and Mexico. Id. ¶ 6. It has no assets or

employees in Missouri. Id. ¶¶ 7–8.

         As alleged in the FAP, CDE5 bought PCBs from Old Monsanto—the sole domestic

manufacturer of PCBs—to use as dielectric (insulating) fluid in its capacitors. FAP ¶¶ 2, 156.

Monsanto alleges that Old Monsanto stopped selling PCBs in 1977. Id. ¶¶ 2, 20. CDE’s sales

records show that following the SU, CDE received shipments of PCBs from Old Monsanto’s




5
    This Memorandum refers to CDE and its predecessors collectively as “CDE.”


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plant in Sauget, Illinois and sent payments to Old Monsanto’s offices in New York, New York.6

See Affidavit of Jonathan Ettinger (“Ettinger Aff.”), Ex. A.

        Monsanto alleges that in late 1971 or early 1972, it advised CDE and others that it would

not ship any more PCBs unless the customers signed the SU. See FAP ¶¶ 49–50, 91. The SU

purports to impose obligations on the signatories to defend and indemnify Monsanto for

liabilities relating to PCBs sold and delivered to the signatories after the date they signed. See

FAP Ex. 5. Yet the SU disclaims any obligation by Old Monsanto to sell any PCBs to CDE. See

id. (“Nothing herein shall create or imply any duty or obligation of Monsanto to sell or deliver

any PCB’s [sic] to Buyer.”). In fact, the SU imposes no obligations on Monsanto at all and does

not state that Monsanto is providing any consideration for the SU.

        CDE’s then-Executive Vice President, Wayne Peterson, allegedly signed CDE’s SU on

January 26, 1972. See id. at 2; FAP ¶ 91. At the time, CDE was headquartered in Newark, New

Jersey, where all its officers and directors, including Mr. Peterson, were located. Ettinger Aff.

Ex. B. Mr. Peterson likely signed the SU at that office.

                                           ARGUMENT

I.      CDE IS NOT SUBJECT TO PERSONAL JURISDICTION IN MISSOURI.

        Monsanto bears the burden of establishing personal jurisdiction. Fastpath, Inc. v. Arbela

Techs. Corp., 760 F.3d 816, 820 (8th Cir. 2014); Conway v. Royalite Plastics, 12 S.W.3d 314,

318 (Mo. 2000). Personal jurisdiction can be general or specific. General jurisdiction refers to a

state’s power to adjudicate any cause of action involving a particular defendant, whereas specific

jurisdiction refers to the state’s power to adjudicate a particular cause of action when a defendant



6
 The FAP alleges in conclusory fashion that CDE “used PCBs at its New Bedford facility until
1977.” FAP ¶ 156.


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has sufficient contacts with the state relating to that cause of action. Viasystems, Inc. v. EBM-

Papst St. Georgen GmbH & Co., KG, 646 F.3d 589, 593 (8th Cir. 2011). Monsanto cannot meet

its burden as to either general or specific personal jurisdiction over CDE.

       A. CDE is Not Subject to General Jurisdiction in Missouri.

       General jurisdiction is plainly lacking. It exists when a corporation’s place of

incorporation or its principal place of business is in the forum state. Goodyear Dunlop Tires

Operations, S.A. v. Brown, 564 U.S. 915, 924 (2011). Neither is true here. CDE is incorporated

in Delaware and headquartered in South Carolina. Whitworth Aff. ¶ 5.

       General jurisdiction may also exist in “an exceptional case” when “a corporation’s

operations” in a state are “so substantial and of such a nature as to render the corporation at home

in that State.” Daimler AG v. Bauman, 571 U.S. 117, 139 n.19 (2014). This is not such a case.

CDE’s operations are in other states or countries. Whitworth Aff. ¶ 6. It has no offices or

employees in Missouri. Id. ¶¶ 7–8. Monsanto has alleged nothing to the contrary. CDE is not

“at home” in Missouri, so there is no general jurisdiction over CDE. See Goodyear, 564 U.S. at

924; see Port Indus. v. Shimp, No. 2:21CV33 HEA, 2021 U.S. Dist. LEXIS 241308, at *12 (E.D.

Mo. Dec. 17, 2021) (Even “[a] corporation’s continuous activity of some sort within a state . . . is

not enough to support . . . suits unrelated to that activity.”) (quotations omitted)).

       B. CDE is Not Subject to Specific Jurisdiction in Missouri.

       Specific jurisdiction is also lacking. Monsanto must show “(1) that the action arose out

of an activity covered by the long-arm statute, [Mo. Rev. Stat. §] 506.500 and (2) that defendant

had sufficient minimum contacts with the forum state to satisfy due process requirements.”

Conway, 12 S.W.3d at 318 (footnote omitted). Monsanto cannot make either showing.

       1. CDE is Not Subject to Jurisdiction under Missouri’s Long-Arm Statute.

       Missouri’s long-arm statute is limited to “cause[s] of action arising from” five specific


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circumstances: “(1) The transaction of any business within this state; (2) The making of any

contract within this state; (3) The commission of a tortious act within this state; (4) The

ownership, use, or possession of any real estate situated in this state; [and] (5) The contracting to

insure any person, property or risk located within [Missouri].” Mo. Rev. Stat. § 506.500.

       None of these provisions confers specific jurisdiction over CDE. Because the fourth and

fifth circumstances plainly do not apply, CDE focuses its discussion on the first three.7

               a. This case did not arise from any contract CDE made in Missouri.

       The SU is not a Missouri contract. “For purposes of long-arm jurisdiction, a contract is

made where acceptance occurs.” Wilson Tool & Die, Inc. v. TBDN - Tennessee Co., 237 S.W.3d

611, 615 (Mo. Ct. App. 2007) (citing Johnson Heater Corp. v. Deppe, 86 S.W.3d 114, 119 (Mo.

Ct. App. 2002)). Acceptance of the terms of the SU, if it occurred at all, did not happen in

Missouri. It happened in either Illinois when Old Monsanto shipped PCBs to CDE, or New

Jersey where CDE likely signed the SU.

       The SU is a unilateral contract, meaning that an enforceable agreement formed, if ever,

when Old Monsanto performed by selling or delivering PCBs to CDE. “A unilateral contract

lacks consideration for want of mutuality, but when the promisee performs, consideration is

supplied, and the contract is enforceable to the extent performed.” Cook v. Coldwell Banker/

Frank Laiben Realty Co., 967 S.W.2d 654, 657 (Mo. Ct. App. 1998) (noting that acceptance

occurs “when the requested performance is rendered”); see Jennings v. SSM Health Care St.

Louis, 355 S.W.3d 526, 533 (Mo. Ct. App. 2011) (stating that “when the promisee performs,



7
  CDE owns no property in Missouri. Whitworth Aff. ¶ 7. Nor does it insure anyone or anything
in Missouri. Id. ¶ 9; see Babb v. Bartlett, 638 S.W.3d 97, 112 (Mo. Ct. App. 2021) (noting no
authority for the “proposition that an indemnification clause contained within a larger . . .
agreement . . . constitutes a ‘contract to insure’ within the meaning of § 506.500.1(5)”).


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consideration is supplied, and the contract is enforceable to the extent performed”).

        The SU purports to contain only unilateral promises related to defense and indemnity.

See FAP ¶ 93 (stating that “Buyer hereby covenants and agrees” to certain terms); id. Ex. 5. Old

Monsanto made no reciprocal promises. In fact, Old Monsanto specifically disclaimed any

obligations: “Nothing herein shall create or imply any duty or obligation of Monsanto to sell or

deliver any PCB’s [sic] to Buyer.” FAP Ex. 5 at 2. Thus, the one-sided SU could not have

resulted in a contract until Old Monsanto shipped PCBs to CDE. See Cook, 967 S.W.2d at 657.

And because, after the SU was signed, Old Monsanto shipped PCBs to CDE from its plant in

Illinois, Ettinger Aff. Ex. A, any contract would have formed in Illinois—not Missouri. See

Garrity v. A.I. Processors, 850 S.W.2d 413, 417 (Mo. Ct. App. 1993) (holding that Mo. Rev.

Stat. § 506.500.1(2) did not confer long-arm jurisdiction where contract was “a unilateral

contract made in Utah when [defendant] deposited $30,000 in the designated bank account”).

Accordingly, either the SU was a unilateral contract formed, if at all, in Illinois, or it fails for

lack of consideration.

        Even if the SU is not a unilateral contract, it still is not a contract made in Missouri.

Whether a contract is a Missouri contract depends on whether it was accepted in Missouri. See,

e.g., Wilson, 237 S.W.3d at 615 (contract accepted in Tennessee when defendant orally accepted

plaintiff’s representative’s offer from Tennessee); Johnson Heater, 86 S.W.3d at 119 (contract

made in Wisconsin where offer accepted when defendant executed unaltered purchase

acceptance form in Wisconsin); State ex rel. Career Aviation Sales, Inc. v. Cohen, 952 S.W.2d

324, 326 (Mo. Ct. App. 1997) (contract made in California when defendant’s agent executed

agreement in California, accepting plaintiff’s offer).

        Here, the SU was a form document provided to multiple customers. See FAP ¶¶ 3, 50 &




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Exs. 2, 4, 5. If the SU is not a unilateral contract, presenting that form to CDE as a precondition

to continue selling PCBs to CDE amounted to an offer by Old Monsanto that CDE accepted by

signing without altering the proposed terms. See id. ¶ 91 & Ex. 5. CDE’s SU was signed by its

then-Executive Vice President, Wayne Peterson. Id. Ex. 5. Because Mr. Peterson’s office was

in CDE’s then-headquarters in New Jersey, he likely signed the SU in that state, not in Missouri.

See Ettinger Aff. Ex. B. This case is thus akin to the myriad other Missouri cases finding no

jurisdiction under the long-arm statute when a contract was accepted in a different state.

Accordingly, whether the SU was a unilateral contract or acceptance occurred in the state where

CDE likely signed, the SU is not a Missouri contract, and this Court lacks jurisdiction under the

long-arm statute.

               b. This case did not arise from any business CDE transacted in Missouri.

       Monsanto also cannot show that this suit arose from any business that CDE transacted in

Missouri under the long-arm statute. See Mo. Rev. Stat. § 506.500.1(1). The business

transactions from which this case allegedly arose are Old Monsanto’s shipments of PCBs to CDE

and the signing of the SU. As explained above, neither occurred in Missouri. That CDE and Old

Monsanto may have had a longstanding business relationship before PCBs were banned is not

determinative. The transactions that matter are those from which the case arose. Missouri law is

clear that communicating with a Missouri resident, such as Old Monsanto, by mail or phone is

not enough to satisfy the long-arm statute regarding transacting business in Missouri. Johnson

Heater, 86 S.W.3d at 120 (concluding that defendant did not transact business in Missouri where

its only alleged contacts with Missouri were by telephone, fax, and mail); see Warner vs. Gen.

Ins. Co. of Am., 690 F. Supp. 830, 835 (E.D. Mo. 1988) (holding that defendant’s “contacts with

Missouri, consisting solely of telephone calls and written correspondence to plaintiffs, [were]

insufficient to permit this Court to exercise jurisdiction”); State, ex rel. Barnes v. Gerhard, 834


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S.W.2d 902, 903–04 (Mo. Ct. App. 1992) (holding that single trip to Missouri and telephone

calls with persons in Missouri were insufficient to establish jurisdiction).

               c. This case did not arise from any tort CDE committed in Missouri.

       This is a contract case, not a tort case. It arises from CDE’s alleged refusal to defend and

indemnify Monsanto under the SU. The torts Monsanto has alleged are plainly an afterthought.

Monsanto does not even mention tort liability when introducing its petition, asserting only

breaches of the SU. See FAP ¶ 6. Likewise, Monsanto did not mention potential tort liability

when it demanded that CDE defend and indemnify it. See id. Ex. 25. The tort claims Monsanto

asserts—negligence (Count V) and “equitable contribution” (Count VII, pleaded “in the

alternative”)—are facially deficient and, thus, cannot serve as a pretext to keep this case in a

Missouri court when personal jurisdiction over Monsanto’s contract claim is lacking. See

Conway, 12 S.W.3d at 318 (“To demonstrate that the action arose out of an activity covered by

[the long-arm] statute, a plaintiff must make a prima facie showing of the validity of its claim.”);

Babb, 638 S.W.3d at 105 (same). The only jurisdictional basis for the tort claims is that

Monsanto suffered financial harm in Missouri from the underlying PCB cases—litigation

expenses are the only damages Monsanto alleges it suffered, see, e.g., FAP ¶¶ 6, 291, 312–13.

But that is not enough. Were it otherwise, a Missouri resident could always sue in Missouri by

alleging financial harm; that is not the law. Monsanto also alleges that CDE and others breached

their duty of care by allowing PCBs to be released into the environment; however, Monsanto’s

allegations about CDE concern releases that occurred only in Massachusetts and Rhode Island

Sound—nowhere near Missouri. Id. ¶¶ 155–60, 288. The long-arm statute does not confer

personal jurisdiction over CDE in these circumstances. See J.H. Berra Paving Co. v. Legendary

Motorcar Co., No. 4:18-CV-02148-NCC, 2019 U.S. Dist. LEXIS 92248, at *7 (E.D. Mo. June 3,

2019) (extraterritorial acts must have set in motion a course of action “deliberately designed” to


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have consequences in Missouri).

       2. CDE Lacks Sufficient Suit-Related Contacts with Missouri for the Court to Exercise
          Personal Jurisdiction over CDE within the Limits of Due Process.

       Even assuming arguendo that the suit meets long-arm statute requirements, Monsanto

cannot show that CDE had sufficient contacts with Missouri to satisfy CDE’s due process

rights.8 Due process requires “contacts with the forum state [to] be sufficient so that a non-

resident defendant should reasonably anticipate being haled into court there.” Fastpath, 760

F.3d at 820–21. This requires at least “some act” by which the defendant “purposely avails itself

of the privilege of conducting activities within the forum State.” Id. at 821 (citation and internal

quotation marks omitted). The contacts the Court must evaluate are CDE’s “suit-related

conduct” that created “a substantial connection with the forum State.” Id. (emphasis added). It

is not enough that CDE interacted with a Missouri corporation. See Mountaire Feeds, Inc. v.

Agro Impex, S.A., 677 F.2d 651, 655 (8th Cir. 1982) (The court considers “defendant’s contacts

with the forum state,” not just “with a resident.”).

       To determine the sufficiency of a defendant’s contacts, the Court considers (1) the nature

and quality of the contacts, (2) the quantity of the contacts, (3) the relationship of the cause of

action to the contacts, (4) the interest of the forum state in providing a forum for its residents,

and (5) the convenience or inconvenience of the parties. Dairy Farmers of Am., Inc. v. Bassett &

Walker Int’l, Inc., 702 F.3d 472, 477 (8th Cir. 2012). The Court gives “significant weight to the



8
  If the Court determines that Monsanto has failed to show that exercising personal jurisdiction
over CDE in this case would satisfy due process, the Court can dismiss solely on that basis. See
Gray v. Hudson, No. 14CV1183 HEA, 2015 U.S. Dist. LEXIS 95969, at *24 (E.D. Mo. July 23,
2015) (“a finding that a plaintiff has failed to establish that personal jurisdiction comports with
the Due Process Clause is dispositive in Missouri cases” (emphasis omitted)); True Fitness
Tech., Inc. v. Samsara Fitness, LLC, No. 4:14CV1930 HEA, 2015 U.S. Dist. LEXIS 78993, at
*19 (E.D. Mo. June 18, 2015) (same).


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first three factors.” Fastpath, 760 F.3d at 821.

       In contract cases such as this one, the Court “consider[s] the terms of the contract and its

contemplated future consequences in determining whether personal jurisdiction over a non-

resident defendant exists.” Id. When a contract was not negotiated or executed in the forum

state, was not performed in the forum state, and did not involve goods that originated in the

forum state or were destined there, there is no sufficiently “substantial connection” with the state

to support personal jurisdiction. See Aaron Ferer & Sons Co. v. Atlas Scrap Iron & Metal Co.,

558 F.2d 450, 454–56 (8th Cir. 1977); Dairy Farmers, 702 F.3d at 478–79; see also Sybaritic,

Inc. v. Interport Int’l, Inc., 957 F.2d 522, 524-25 (8th Cir. 1992) (no jurisdiction when a contract

was not executed or negotiated in the forum state, even though the defendant had visited the

forum state and communicated with the plaintiff by phone and mail); Bell Paper Box v. Trans W.

Polymers, 53 F.3d 920, 922 (8th Cir. 1995) (“[E]ntering into a contract with a forum resident” is

insufficient, particularly “when the nonresident defendant is a buyer, rather than a seller”).

       This case is apiece with those precedents. As discussed above, the SU likely was neither

negotiated nor signed by CDE in Missouri. It did not obligate Old Monsanto to engage in any

further PCB sales, or sales of any kind, with CDE. Monsanto alleges it did sell PCBs to CDE

after the SU was signed, but it shipped them from its Illinois plant to CDE in Massachusetts, and

CDE paid Old Monsanto in New York.9 Monsanto has not alleged that in the nearly half century

between the 1979 PCB ban and the date CDE was added to the case, CDE has had any

significant, suit-related contacts with Missouri or Monsanto, apart from the handful of letters it

exchanged with Monsanto’s counsel after receiving the demand. Those facts, taken together,




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 The alleged SU, moreover, contains no Missouri choice-of-law provision, nor does it contain a
Missouri forum selection clause. See FAP Ex. 5.


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cannot confer jurisdiction consistent with due process. This Court has found similar facts to be

dispositive even when, unlike here, the contract was “technically” made in Missouri. See

Restoration St. Louis, Inc. v. 3rd St. IA LLC, No. 4:13CV669 HEA, 2014 U.S. Dist. LEXIS

23955, at *10 (E.D. Mo. Feb. 24, 2014) (finding no jurisdiction where defendant’s principal

place of business was in New York; none of its members was a Missouri citizen; it had no office,

property, or employees in Missouri; and the contract was negotiated outside Missouri).

       Monsanto fares no better when considering the other factors in the due process analysis.

Missouri’s interest in keeping this case is minimal and does not outweigh the lack of sufficient

contacts. Missouri has no greater interest than any of the other states involved in the relevant

PCB transactions between Old Monsanto and CDE. There is also no reason to believe that

litigating in Missouri will be more convenient than in any other forum that may have personal

jurisdiction over CDE. Monsanto is a major multinational corporation with a nationwide

presence. It is allegedly litigating the underlying PCB cases in Washington, Delaware,

Maryland, New Hampshire, Pennsylvania, Oregon, California, Washington D.C., New Mexico,

Ohio, Louisiana, Connecticut, and even Massachusetts. All the factors the Court considers for

due process support dismissing this case against CDE for lack of personal jurisdiction.

II.    MONSANTO’S CLAIMS AGAINST CDE ARE TIME-BARRED.

       The Court should dismiss Monsanto’s case against CDE in whole or in part for failure to

state a claim because it is time-barred. See Fed. R. Civ. P. 12(b)(6). Assuming Missouri law

applies, the statute of limitations is five years for breach of contract and tort actions. Mo. Rev.

Stat. § 516.120(1), (4). Monsanto alleges that CDE rejected Monsanto’s demand for defense and

indemnity on May 18, 2017, and thereby breached the SU. FAP ¶¶ 225–26 & Exs. 25, 26. Yet

Monsanto added CDE to its lawsuit on August 3, 2022, more than five years after any contract

claim accrued. See FAP at 71; see Loeffler v. City of O’Fallon, 71 S.W.3d 638, 642–43 (Mo. Ct.


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App. 2002) (contract claim accrued, and statute of limitations began to run, when defendant

declined request for payment). Monsanto’s tort claims also accrued for most, if not all, of the

underlying lawsuits more than five years before Monsanto added CDE. Those claims are time-

barred as well.10

III.   COUNT V FAILS TO STATE A CLAIM OF NEGLIGENCE.

       Monsanto’s contract claims are “at the heart of this dispute.” See Sybaritic, 957 F.2d at

525. The tort claims (equitable contribution and negligence) are an afterthought, not mentioned

until the end of the FAP after hundreds of allegations about the SU. The tort claims fail to state a

viable claim and should neither control the jurisdiction question nor survive a motion to dismiss.

The Joint Brief addresses equitable contribution. CDE moves separately to dismiss Count V

(negligence) for failure to state a claim because it is barred by the economic loss doctrine.

       “[I]n any negligence action, the plaintiff must first establish that a duty exists by the

defendant to protect the plaintiff from the injury suffered.” Rockport Pharmacy v. Dig.

Simplistics, 53 F.3d 195, 198 (8th Cir. 1995) (quoting Burns v. Black & Veatch Architects, Inc.,

854 S.W.2d 450, 452–53 (Mo. Ct. App. 1993)). But, as a matter of law, there is “no duty to

exercise reasonable care to protect against a loss that is purely economic in nature.” Id.

(emphasis added) (noting that “[t]he mere existence of a contract does not give rise to a duty in

tort”). This “economic loss doctrine prohibits a plaintiff from seeking to recover in tort for

economic losses that are contractual in nature.” Captiva Lake Invs., Ltd. Liab. Co. v.




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  For negligence, the limitations period started running when Monsanto first learned of the
underlying lawsuits. See City of N. Kan. City v. Archer Daniels Midland Co., 575 S.W.3d 270,
277 (Mo. Ct. App. 2019). For further discussion of negligence and the statute of limitations, see
Defendant The Gillette Company, LLC’s Mem. of Law in Supp. of Mot. to Dismiss at 10–12.
Regarding equitable contribution, CDE joins the arguments of Defendant Kyocera AVX
Components Corporation’s Mem. of Law in Supp. of Mot. to Dismiss at 13–14.


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Ameristructure, Inc., 436 S.W.3d 619, 628 (Mo. Ct. App. 2014) (collecting cases). It limits

recovery in tort to “cases where there is personal injury, damage to property other than that sold,

or destruction of the property sold due to some violent occurrence.” Id.; see, e.g., Crowder v.

Vandendeale, 564 S.W.2d 879, 881–84 (Mo. 1978) (en banc) (holding that plaintiff could not

recover economic damages under negligence theory because contractual theory provided

adequate and appropriate remedy); Wilbur Waggoner Equip. & Excavating Co. v. Clark Equip.

Co., 668 S.W.2d 601, 602–03 (Mo. Ct. App. 1984) (affirming defendants’ motion for judgment

on the pleadings where plaintiff alleged product defect caused only economic losses).11

       Here, Monsanto has not alleged any personal injury or property damage to Monsanto. Its

count for negligence alleges purely economic losses:

       the costs of defending the PCB Lawsuits (attorneys’ fees, expert witness fees, and
       other costs and expenses), the amounts paid to settle some of the Food Chain Cases,
       the amounts paid and/or agreed to be paid to settle some of the Water Cases, the
       judgments entered in the Sky Valley School Cases, and all other amounts Plaintiffs
       have reasonably paid and/or agreed to pay to resolve claims (whether through
       settlement, verdict, judgment, or otherwise) covered by the Special Undertaking
       Agreements prior to the date of this filing.

FAP ¶ 290 (emphasis added). All those litigation expenses are economic losses. They are also

losses that are “contractual in nature.” Captiva Lake, 436 S.W.3d at 628. Monsanto even refers

to them explicitly in its negligence count as costs “covered by” the SU. FAP ¶ 290. Missouri

law is clear: Monsanto cannot allege contractual damages under the guise of a negligence claim.

See Captiva Lake, 436 S.W.3d at 628. Monsanto’s Count V is a quintessential violation of the




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   The Court’s analysis is the same regardless of which state’s law applies. See, e.g.,
Restatement (Third) of Torts: Liab. for Econ. Harm § 3 (Am. L. Inst. 2020) (“[T]here is no
liability in tort for economic loss caused by negligence in the performance or negotiation of a
contract between the parties.”).


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economic loss doctrine and must be dismissed.12

                                         CONCLUSION

       For the foregoing reasons, this Court should (1) dismiss Monsanto’s First Amended

Petition in its entirety as to CDE for lack of personal jurisdiction; (2) dismiss Monsanto’s First

Amended Petition as to CDE to the extent it is barred by the statute of limitations; or (3) dismiss

Count V (negligence) for failure to state a claim upon which relief can be granted.

                             REQUEST FOR ORAL ARGUMENT

       CDE respectfully requests oral argument on its Motion. CDE believes the Court would

benefit from an oral presentation given the complexity of the issues in this case.




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   If Monsanto argues that it has adequately pleaded personal injury or property damages because
those damages were alleged by third parties in the underlying PCB lawsuits, that argument must
fail. Monsanto cannot stand in the shoes of the third parties it injured to assert a negligence
claim against CDE as if Monsanto had suffered those injuries itself. Nor does Monsanto allege
that any of the releases it attributes to CDE injured Monsanto directly or damaged any Monsanto
property. FAP ¶¶ 155–60.


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                             Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

        I hereby certify that on May 1, 2023, I electronically filed the foregoing with the Clerk of
Court using the CM/ECF system which sent notification of such filing to all counsel and parties
of record who have appeared.

                                                      /s/ Benjamin J. Wilson




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